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U.S. Department of Justice

United States Attorney

District of New Jersey
Robert Taj Moore. 970 Broad Street, 7" floor 973-645-2700
Assistant United States Attorney Newark, New Jersey 07102 ,

RTM/PL AGR
2024R00807

January 17, 2025

Anita Aboagye-Agyeman, Esq.

Office.of the Federal Public Defender up 20

1002 Broad Street = k 2025

Newark, New Jersey07102.. ud RT Asc
MUDeE:

Re:

-25- CR- 160-1 (RK)

Dear Counsel:

This letter sets forth thé plea agreement between your client, Carlo M. De
Leon De Jesus (“De Leon De Jesus” or the Defendant”), and the Acting United
States Attorney: for the District of New Je jersey (“this Office”). This offer will expire
on February 5, 2025, if it is not.accepted in writing by that date. If De Leon De
Jesus does not accept this plea agreement, his sentencing exposure could increase
beyond what is discussed in this plea agreement as a result of this Office’s
‘investigation.

Charges

Conditioned on the understandings specified below, this Office will. accept a
guilty plea from De Leon De Jesus to a four-count Information, which charges De
‘Leon De Jesus with:

e in Count One, dealing firearms without a license, in violation of 18 U. 5.C. §§
922(a)(1)(A), 923(a); and 924(a)(1)(D);

¢. in Count Two; transferring firearms to an out-of-state resident, in violation of
18 U.S.C, §§ 922(a)(5) and. 924(a)\(1)(D);

* in Count Three, firearms trafficking, i in violation of 18 U.S.C. § 933(a)(1); and

* in Count Four, conspiracy to distribute a controlled substance, contrary to 21
U.S.C. § 841(a)(1) and (b)(1)(C), and in violation of 21 U.S.C. § 846.

If De Leon De Jesus enters a guilty plea and is sentenced on these charges and
otherwise fully complies with this agreement, this Office'will not initiate any
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further criminal charges against De Leon De Jesus for his possession or transfer of
firearms from in or around July 2028 to in or around September 2023.

But if a guilty plea in this matter is not entered for any reason or a guilty
plea or judgment of conviction entered in accordance with this agreement does not
‘remain in full force and effect, this Office may reinstate any dismissed charges and
initiate any other charges against De Leon De Jesus even if the applicable statute of
limitations period for those charges expires after Dé Leon De Jésus signs this
agreement, and De Leon De Jesus agrees not to assert that any such charges are
time-barred.

_. The violations of 18 U.S.C. §§ 922(a)(1)(A), 923(a), and 924(a)(1)(D); and 18
U.S.C. §§ 922(a)(5) and 924(a)(1)(D) to which De Leon De Jesus agrees to plead
guilty in Counts One and Two of the Information, respectively, each carries a
statutory maximum prison sentence of five years and a statutory maximum fine
equal to the greatest of; (1) $250,000; (2) twice the gross amount of any pecuniary
gain that-any persons derived from the-offenses; or (8) twice the-gross-amount of.
any pecuniary loss sustained by any victims of the offenses.

The violation of 18 U.S.C. § 933(a)(1) to which De Leon De Jesus agrees to
plead guilty in Count Three of the Information carries a statutory maximum prison
sentence of 15 years and a statutory maximum fine equal to the greatest of: (1)
$250,000; (2) twice. the gross amount of any pecuniary gain that any persons derived
from the offense; or (8) twice the gross amount of any pecuniary loss sustained by
_any victims of the offenses.

The violation of 21 U.S.C. § 846 (contrary to 21°U.8.C. §§ 841(a)(1) and
‘(b)(1)(C)) to which De Leon De Jesus agrees to plead guilty in Count Four of the
Information carries a statutory maximum prison sentence of 20 years and a
statutory maximum fine equal to the greatest of: (1) $1,000,000; (2) twice the gross
amount of any pecuniary gain that any persons derived from the offense; or
(8) twice the gross amount of any pecuniary loss sustained by any victims of the
offense.

The prison sentences on Counts One, Two, Three, and Four of the
Information may run consecutively to any prison sentence De Leon De J esus is
serving or is ordered to serve. Fines imposed by the sentencing judge may be subject
tothe payment of interest.

The sentence to be imposed upon De Leon De Jesus is within the sole
discretion of the seritencing judge, subject to the provisions of the Sentencing
Reform Act, 18 U:S.C. §§ 3551-3742, and the sentencing judge’s consideration of the
United States Sentencing Guidelines. Those Guidelines are advisory, not
mandatory. The sentencing judge may impose any reasonable ‘sentence up to and

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including the statutory maximum term of imprisonment and the maximum
statutory fine. This Office cannot and does not make any representation or promise
as to what Guidelines range may be found by the sentencing judge, or as to what
sentence De Leon De Jesus ultimately will receive.

Further, in addition to imposing any other penalty on De Leon De Jesus, the
sentencing judge as part of the sentence:

1. will order De Leon De Jesus to pay an assessment of $100 per count
pursuant to 18 U.S.C. § 3013, which assessment must be paid by the
date of sentencing;

2. may order De Leon De Jesus to pay restitution pursuant to 18 U.S. C.
§ 38663 et seq.;

3. must order forfeiture, pursuant to 18 U.S.C. § 924 and 21 U.S.C. § 853;

4, may deny De Leon De Jesus certain statutorily defined benefits,
pursuant to 21 U.S.C. §§ 862 and § 862a;

5. may require De Leon De Jesus to serve, on Counts One, Two, and
Three, and pursuant to 18 U.S.C: § 3583; a term of supervised release
of not more than three years on each count; and must require DeLeon
De Jesus to serve, on Count Four, and pursuant to 21 U.S.C. § 841, a
term of supervised release of at least three years. Any term of
supervised release will. begin at the expiration of any term of
imprisonment imposed.

6. should De Leon De Jesus be placed on.a term of supervised release and
subsequently violate any of the conditions of supervised release before
the expiration of its term, De Leon De Jesus may be sentenced to not
more than two years’ imprisonment on each count, in addition to any
prison term previously imposed, regardless.of the statutory maximum
term of imprisonment set forth above and without credit for time
previously served on post-release supervision, and may be sentenced to
an additional term of supervised release.

As part of De Leon De Jesus's acceptance of responsibility, De Leon De Jesus.
agrees to forfeit to the United States: @) pursuant to 21 U.S.C. § 853, any and all
property constituting or derived from any proceeds De Leon De Jesus obtained,
directly or indirectly, as a result of the offense’ charged in Count Four of the
Information, and all of De Leon De Jesus's right, title, and interest in any property
that was used or intended to'be used, in any manner or part, to commit and to

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facilitate the commission of such offense; (ii) pursuant to 18 U.S.C. § 984(a)(1), any
property constituting, or derived from, any proceeds De Leon De Jesus obtained,
directly or indirectly, as the result of the offense charged in Count Three of the
Information, as well as any property used, or intended to be used, in any-manner or
part, to commit, or to facilitate the commission of, such offense; and (iii) pursuant to
18 U.S.C. § 924(d)(1) and 28 U.S.C, § 2461(c), any firearm or ammunition involved
in or used.in the offenses charged in Counts One through Three ofthe Information,
including, but not limited to the following items seized between in or around July
2023 and in or.around September 2023:

1. One (1).Glock 19 Gen 4, 9x19. mm pistol bearing serial number AEFF817;

2. One (1) Extreme Gun Works X15, short barrel, .556 caliber, rifle bearing
serial number X15-00211;

3. One (1) Century Arms International Ak variant style rifle bearing serial
number RC8684;

4, One (1) Beretta ARX 160, .22 LR semi-automatic handgun bearing serial
nuimber PB010073;

10 rounds of assorted 9mm ammunition;

One (1) Black Pro Mag rifle magazine;

Two (2) Glock Grip backstrips;

12 rounds of Winchester .22 caliber ammunition; and

59 rounds of .22 caliber ammunition.

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(collectively, the “Specific Property”).:

De Leon De Jesus acknowledges that the Specific Property is subject to
forfeiture as firearms or ammunition involved in or used in the violations charged in
Counts One through Three of the Information.

De Leon De Jesus waives the requirements of Rules 32.2 and 43(a) of the
Federal Rules of Criminal Procedure regarding notice of the forfeiture in the
charging instrument, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment. Pursuant to Fed. R. Crim.:P.
32.2(b)(4), De Leon De Jesus consents to the entry of a forfeiture order that, in this
Office’s discretion, may be final as to the deféndant prior to the defendant's
sentencing. De Leon De Jesus understands that criminal forfeiture pursuant to 18
U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c) is part of the sentence that maybe
imposed in this case and waives any failure by the court to advise De Leon De Jesus
of this pursuant to Fed. R. Crim. P. 11(b)(1)() at the guilty plea proceeding. De
Leon De Jesus further understands that De Leon De Jesus has no right to demand
that any forfeiture of De Leon De Jesus's assets be treated as satisfaction of any
fine, restitution, cost of imprisonment, or any other penalty the Court may impose
in addition to forfeiture. De Leon De Jesus waives all constitutional, statutory, and.
other challenges to the forfeiture on all grounds, including that the forfeiture
constitutes an excessive fine or punishment under the Eighth Amendment.

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De Leon De Jesus also consents to the administrative and/or civil judicial
forfeiture of the Specific Property. De Leon De Jesus agrees that De Leon De Jesus
will not file a claim or a petition for remission or mitigation i in any forfeiture
proceeding involving the Specific Property and will not cause or assist anyone ‘else
in doing so. To the extent De Leon De Jesus has filed a claim or petition in any
administrative or civil judicial forfeiture proceeding involving the Specific Property,
such claims or petitions are deemed withdrawn. De Leon De Jesus further agrees to
take all necessary steps to pass clear title to the Specific Property to the United
States, including, but not limited to, the surrender of such property to.the United
States, its agent, or designee, and the execution of all necessary documentation.

Dé Leon De Jesus further consents and agrees to forfeit and abandon to
federal, state, and/or local law enforcement all of De Leon De Jesus's right, title,-
and interest in the Specific Property; waives all challenges of any kind to the
forfeiture and abandonment of this property by federal, state, and/or local law
enforcement; waives any additional notice requirement in connection with the
forfeiture and/or abandonment of this property; and consents to the destruction of
the forfeited and/or abandoned property at the discretion of federal, state, and/or
local law enforcement.

Except as otherwise provided in this agreement, this Office may take any
position with respect to the appropriate sentence to be imposed on De Leon De
Jesus:by the sentencing judge. This Office may also correct any misstatements
relating to the sentencing. proceedings and provide the sentencing judge and the
United States Probation Office all law and information relevant to sentencing,
favorable or otherwise. And this Office may inform the sentencing judge and the.
United States Probation Office of: (1) this agreement; and (2) the full nature and
‘extent of De Leon De Jesus's activities and relevant conduct with respect to this

case.

Stipulations

This Office and De Leon De Jesus will stipulate at sentencing to the
statements set forth in the attached Schedule A, which is part of this plea
agreement: Both parties understand. that the sentencing judge and the United
States Probation Office are not bound by those stipulations ; and may make
independent factual findings and may reject any or all of the parties’ stipulations.
Nor do these stipulations restrict the parties’ rights to respond to questions from
the Court and to correct misinformation that has been provided to the Court.

This agreement to stipulate on the part of this Office is based on the
information and evidence that this Office possesses as of the date of this agreement.

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Thus, if this Office obtains or receives additional evidence or information prior to
sentencing that it believes materially conflicts with a Schedule A stipulation, that
stipulation shall no longer bind this Office. A determination that a Schedule A
stipulation is not binding shall not release the parties from any other portion of this
agreement, including any other Schedule A stipulation.

If the sentencing court rejects a Schedule A stipulation, both parties reserve
the right to argue on appeal or at post-sentencing proceedings that the sentencing
court did so properly. Finally, to the extent that the parties do not stipulate toa
particular fact or legal conclusion in this agreement, each reserves the right to
argue how that fact or conclusion should affect the sentence.

Waiver. of Appeal and. Post-Sen' nten nici i Ray a ts.

As set forth in Schedule A and the paragraph below, this Office and De Leon
De Jesus waive certain rights to appeal, collaterally attack, or otherwise challenge
the judgment of conviction or sentence.

‘De Leon De Jesus understands that, if De Leon De Jesus is not a citizen of
the United States, De Leon De Jesus’s guilty plea to the’ charged: offenses will likely
result in De Leon:De Jesus ‘being subject: to immigration proceedings and removed
from the United. States by making De Leon De Jesus deportable, excludable, or
inadmissible, or ending De Leon De Jesus’s naturalization. Dé Leon De Jesus
understands that the immigration consequences of this plea will be imposed ‘in a
separate proceeding before the immigration authorities. De Leon De Jesus wants
and agrees to plead guilty to the charged offenses regardless of any immigration |
consequences of this plea, evén if this plea will cause De Leon De Jesus’s removal
from the United States. De Leon De Jesus understands that De Leon De Jesus is
bound by this guilty plea regardless of any immigration consequences. Accordingly,
De Leon De Jesus waives any right to challenge the guilty plea, sentence, or both
based on any immigration consequences. De Leon De Jesus also agrees not to seek
to withdraw this guilty plea, or to file a direct appeal, or any kind of collateral
attack challenging the guilty plea, conviction, or sentence, based on any
immigration consequences of the guilty plea or sentence.

Other-Provisions

This agreement is limited to the United States Attorney’s Office for the
District of New Jersey and cannot bind other federal, state, or local authorities, If
requested to do so, however, this Office will bring this agreement-to the attention of
other prosecuting offices.
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This agreement was reached without regard to any civil or administrative
matters that may be pending or commenced in the future against De Leon De Jesus.
So this agreement does not prohibit the United States, any agency thereof
(including the Internal Revenue Service and Immigration and Customs
Enforcement) or any third party from initiating or prosecuting any civil or
administrative proceeding against him.

No provision of this agreement shall preclude De Leon De Jesus from
pursuing in an appropriate forum, when permitted by law, a claim that he received
constitutionally ineffective assistance of counsel.

No Other Promises

This agreement constitutes the entire plea agreement between De Leon De
Jesus and this Office and supersedes any previous agreements between them. No
additional promises, agreements, or conditions have been made or will be made

unless set forth in writing and signed by the parties.
Very truly yours,

VIKAS KHANNA
Acting United States Attorney

By: Robert Taj Moore .
Assistant U.S. Attorney

APPROVED:

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Benjamin Levin .
Chief, Narcotics/OCDETF Unit

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I have received this letter from my attorney, Anita Aboagye-Agyeman, Esq. It
has been translated for me into Spanish. My attorney and I have reviewed and
discussed it and all of its provisions, including those addressing the charges,
sentencing, stipulations (including the attached Schedule A), waiver, forfeiture, and
immigration consequences. I understand this letter fully and am satisfied with my
counsel’s explanations. I accept its terms and conditions and acknowledge that it
constitutes the plea agreement between the parties. I understand that no additional
promises, agreements, or conditions have been made or will be made unless set
forth in writing and signed by the parties. I want to plead guilty pursuant to this
plea agreement.

AGREED AND ACCEPTED:

vo es: DNA. Lf’ Date: [ |2>]2°

Carlo M. De Leon De Jesus
Defendant

T have reviewed and discussed with my client this plea agreement and all of
its provisions, including those addressing the charges, sentencing, stipulations
(including the attached Schedule A), waiver, forfeiture, and immigration
consequences. My client understands this plea agreement fully and wants to plead
guilty pursuant to it.

" Date: | | 22| Lo

Anita Aboagye-: eyeman, Esq..
Counsel for Deferidant
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Plea Agreement with.De Leon DeJesus
Schedule A

1. This Office and De Leon De Jesus recognize that the United States
Sentencing Guidelines do not bind the sentencing judge. Each party nevertheless
agrees to these stipulations.

2. The version of the Guidelines effective November 1, 2024 applies in this

3. Counts One, Two, and Three group pursuant to U.S.S.G. § 3D1.2(d). The
applicable guideline is U.S.S.G. § 2K2.1. This guideline carries a Base Offense Level
of 20 because the offense involved a semiautomatic firearm capable of accepting a
large capacity magazine. U.S.S.G. § 2K2.1(a)(4)(B).

4, Because the offenses involved three to seven firearms, there is a two-level
increase. U.S.S.G. § 2K2.1(b)(1).

5. Because De Leon De Jesus transported, transferred, sold, or otherwise
disposed of two or more firearms having reason to believe that doing so would result
in the receipt of firearms by an individual who intended to use or dispose of
firearms unlawfully, there is a five-level increase. U.S.S.G. 8 2K2. 1(b)(5)(C).

6. Because De Leon De Jesus possessed or transferred any firearm or
‘ammunition with reason to believe that they would be transported outside ofthe
United States, there is a four-level increase. U:S.S.G. § 2K2.1(b)(6)(A).

7. The offense level is therefore 31.

Count. Four: Conspiracy to Distribute Fentanyl, Cooaine, and Heroin:

8. The applicable guideline is U.S.S.G. §§ 2D1.1(a)(5) and (c)(8). As‘applied to
De Leon De Jesus; the Guidelines provide for a base offense level of 24 because the
offense involved at least 100 kilograms but less than 400 kilograms of Converted

Drug Weight.

9. The offense level for Count Four is therefore 24.
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10. Pursuant to U.S.S.G. § 3D1.2(b), Counts One through Four ~ all of which
are offenses connected by a common criminal objective or constituting part of a
common scheme or plan — are grouped together,

11. Pursuant to U.S.S.G. § 83D 1.3(a), the highest offense level of the counts in
the Group applies to the case.

12. The Total Offense Level is therefore 31.

13. As of the date of this letter, De Leon De Jesus has clearly demonstrated a
recognition and affirmative acceptance of personal responsibility for the offense
charged. Therefore, a downward adjustment of two levels for acceptance of
responsibility is appropriate if De Leon De Jesus’s acceptance of responsibility
‘continues through the date of sentencing. See U.S.8.G. § 83E1.1(a).

14. As.of the date of this letter, De Leon De Jesus has assisted authorities
in the investigation or prosecution of his own misconduct by timely notifying
authorities of his intention to enter a plea of guilty, thereby. permitting this Office to
avoid preparing for trial and. permitting this Office and the court to allocate their
resources efficiently. At sentencing, this Office will move for a further one-point
reduction in-De Leon De Jesus’s offense, level pursuant to U.S.8.G. § 83E1.1(b) if the
following conditions are met: (a) De Leon De J esus enters a plea pursuant to this
‘agreement, (b) this Office, in its discretion, determines that De ‘Leon De Jesus’s
“acceptance of responsibility has continued through the date of sentencing and De
Leon De Jesus therefore qualifies for a two-point reduction for acceptance of
responsibility pursuant to U.S.S.G. § 3E1. 1(a), and (c) De Leon De Jesus’s offense
level under the Guidelines prior to the operation of § 83E1.1(a) is 16 or greater.

15. Accordingly, the parties agree that the total Guidelines offense level
applicable to De Leon De Jesus is 28 (the “Total Offense Level”).

16. The parties agree not to advocate for any upward or downward
adjustment or departure from the Guidelines range resulting from (a) the Total
Offense Level and (b) the criminal history category that the sentencing judge
applies under Chapter 4 of the Guidelines without any departure or variance. But
each party may seek a variance from that Guidelines range, which the other. party
may oppose.

17. Ifthe term of imprisonment does not exceed 97 months, and except as
specified in the next paragraph below, De Leon De Jesus will not challenge or seek
to reduce by any means any component of the sentence imposed by the sentencing
judge for any reason other than ineffective assistance of counsel. The term “ any
means” includes a direct appeal under 18 U.S.C. § 8742 or 28 U.S.C. § 1291,'a
motion to vacate the sentence under 28 U:S.C, § 2255, a motion to reduce the term

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of imprisonment under 18 U.S.C. § 3582(c)(1)(B) or (c)(2), a motion for early
termination of supervised release under 18 U.S.C. § 3583(e)(1), and any other
appeal, motion, petition, or writ, however captioned, that seeks to attack or modify
any component of the sentence, If the term of imprisonment is at least 78 months,
this Office will not challenge by appeal, motion, or writ any component of the
sentence imposed by the sentencing judge. The provisions of this paragraph bind
the parties even if the sentencing judge employs a Guidelines analysis different
from the one above.

18. Both parties reserve the right to file or to oppose any appeal, collateral
attack, writ or motion not barred by the preceding paragraph or any other provision
of this plea agreement. Moreover, the preceding paragraph does not apply to:

(a) Any proceeding to revoke the term of supervised release.

(b) Amotion to reduce the term of imprisonment under 18 U.S.C.
§ 3582(¢)(1)(A).

(ce) An appeal from the denial of a § 3582(c)(1)(A) motion on the
grounds that the court erred in finding no extraordinary and
compelling circumstances warranting a reduced term of
imprisonment or that the court failed to. consider those
circumstances as a discretionary matter under the applicable
factors of 18 U.S.C. § 3553(a).

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